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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                               :
                                                       :
               v.                                      :     Case No. 23-cr-00140-JMC
                                                       :
DODGE DALE HELLONEN                                    :
                                                       :
                              Defendant.               :

    NOTICE UNDER LOCAL CRIMINAL RULE 57.12(B)(3) OF RELATED CASES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully files notice, pursuant to Local Criminal Rule 57.12(B)(3),

that United States v. Dodge Dale Hellonen, No. 23-cr-00140 (JMC) and United States. v. Micah

Coomer, No. 23-cr-00124 (ACR) are related cases.

       Both were charged in a criminal complaint (23-mj-14 (ZMF)) along with a third

codefendant. The facts involve the group traveling together to Washington D.C. on January 6,

2021, moving together on the grounds of the U.S. Capitol, and trespassing and parading together

inside the U.S. Capitol Building. Accordingly, because the criminal conduct alleged against these

individuals overlaps and in the interest of consistency and ease in sentencing, the Government

requests the cases be transferred to the same district court judge. Pursuant to the Local Criminal

Rule 57.12(C)(1), that typically is to the district court judge with the lower numbered case – Judge

Reyes in this case.

       Defense counsel, Halerie Costello, was consulted before the filing of this notice and has no

objection to the notice and request made herein.



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                                             Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar Number 481052


                                             By:    /s/ Joseph H. Huynh
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2023, I caused a copy of the foregoing to be served on

counsel of record via electronic filing.

                                             /s/ Joseph Huynh
                                             Joseph Huynh
                                             Assistant United States Attorney




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